                     (JR-I~~r~A~Di[i~,~?
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                                                                                                           ,
                           IN THE UNITED STATES DISTRICT COURWSTR!CI
                               FOR THE DISTRICT OF MARYLAND

       LARRY R. BINGMAN                           *
                                Plaintiff         *                                        r" .... '.','   r \,1
                                                                         r, '{ _.__                        I   ;


                          vs.                     *     CIVIL ACTION NO. MJG-13-2678

       BALTIMORE      COUNTY, MARYLAND            *
                                Defendant         *

       *         *         *          *           *           *         *             *                    *
                                            SPECIAL VERDICT


       SECTION ONE - WRONGFUL         DISCHARGE       CLAIM

            A.       LIABILITY

            1.   Has Plaintiff Larry Bingman proven, by a preponderance
            of the evidence, that Baltimore County, Maryland,
            wrongfully terminated his employment?




              If your answer is Yes, proceed to Part B, Damages.
              If your answer is No, proceed to Section Two.


            B.       ECONOMIC    DAMAGES

            2.    What amount, if any, of lost wages and benefits                         do you
            find that Plaintiff Larry Bingman has proven by a
            preponderance of the evidence?

                                                                  11 '3J'-f 000
                                                                  (Zero o? an amount)

                      Proceed to Question 3.




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3.   Has Baltimore County proven by a preponderance of the
evidence that, for any time between the date of his
termination to today, Plaintiff Larry Bingman failed to
make a reasonable effort to obtain work that was available
to him?

                                                         y~s
                                                     Yes or no

      If your answer is Yes, proceed to answer the
      next two questions (3.a. and 3.b.).

      If your answer is No, proceed to Part   c.
           a.   If so, for what period of time has Baltimore
      County proven by a preponderance of the evidence that
      he failed to make a reasonable effort to obtain work
      that was available to him?

                                      .2/% UJeefs
                                   (Zero or a number of weeks)

           b.   By how much, if any, do you find that
      Baltimore County has proven by a preponderance of the
      evidence that Mr. Bingman's economic damages should be
      reduced?

                                     If ,;I/ g     OOG
                                       (Zero Jor an amount)



      Proceed to Part   c.

C.   NON-ECONOMIC   DAMAGES

4. What amounts, if any, do you award Plaintiff           Larry
Bingman for non-economic damages?

                                          '# ~'Jg (JOO
                                         (Zero orJan amount)




      Proceed to Section Two.

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SECTION TWO - Medical-Related     Claims


     5.   Has Plaintiff Larry Bingman proven, by a preponderance
     of the evidence, that Baltimore County, Maryland wrongfully
     obtained a medical examination or made a wrongful inquiry?

                                                                   Yes
                                                                Yes or No

     If your answer is Yes, proceed to Question 6, Damages.
     If your answer is No, answer no further questions.


     6. What amount of damages, if any, do you award Plaintiff
     Larry Bingman on this claim?

                                                     11 (/; 000
                                                   (Zero   dr   an amount)




The foregoing   constitutes   the unanimous       verdicJ_ot     the .;Jury._

                                           SIGNATURE REDACTED
                                              r       Foreperson




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